         Case 1:21-cr-00225-DLF Document 59 Filed 08/10/22 Page 1 of 2




                                                         STEVEN A. METCALF II, ESQ., Managing Attorney***
                                                         NANETTE IDA METCALF, ESQ., Managing Attorney**
                                                                CIARRA SANTIAGO, ESQ., Associate Attorney
                                                              CHRISTOPHER DARDEN, ESQ., Special Counsel*

                                                                                                               Page | 1



                                                                                 August 9, 2022


VIA ECF
The Honorable Dabney L. Friedrich
E. Barrett Prettyman
United States Courthouse
333 Constitution Avenue, N.W.
Washington, DC 20001

      Re:     USA v. Treniss Evans
              Case No.: 1:2021-cr-00225

Your Honor:

      Please take notice that this firm is retained and represents Mr. Evans in this
matter. This matter is scheduled for sentencing, in person, on August 16, 2022.

       Unfortunately, my mother-in-law just passed away and that has drastically
affected my ability to finalize the sentencing materials and finish preparing for
sentencing. Additionally, services are scheduled to begin today in the State of Maryland,
and will continue to next week in New York City.

       In light of this, I write to respectfully request that the sentencing in this matter
be rescheduled.

       I spoke to AUSA Valentini, who does not oppose this request. With regards to
dates, AUSA Valentini and I are both available from the afternoon of September 7,
2022 to any date thereafter that is convenient for the Court.
                                                                                     *Licensed in California
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         Case 1:21-cr-00225-DLF Document 59 Filed 08/10/22 Page 2 of 2




       I thank you in advance for your advance for your attention and consideration of
this request, as this has been a very sensitive and difficult time for my family. I can be
reached anytime directly at 631.521.1499.

                                                                Respectfully Submitted,      Page | 2

                                                                /s/ Steven A. Metcalf II
                                                                ________________________
                                                                STEVEN A. METCALF, ESQ.




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